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                           UNITED STATES DISTRICT COURT
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                          CENTRAL DISTRICT OF CALIFORNIA
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  10    LIONEL FREDERICK JOHNSON, JR.,           Case No. 5:20-cv-2337-MWF (MAR)
  11                            Petitioner,
  12                      v.                     JUDGMENT
  13    RALPH DIAZ,
  14                            Respondent.
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  17         Pursuant to the Order Accepting Findings and Recommendation of United
  18   States Magistrate Judge, IT IS HEREBY ADJUDGED that this action is
  19   DISMISSED with prejudice.
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  21   Dated: November 29, 2021
  22
                                          MICHAEL W. FITZGERALD
  23
                                          United States District Judge
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